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                     UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


 FEDERAL TRADE COMMISSION,
                           Plaintiff,        CASE NO. 2:22-cv-00377-BLW
        vs.
                                             ORDER ON JOINT
 KOCHAVA INC., a corporation                 STIPULATION FOR
                                             EXTENSION OF TIME FOR
      and                                    KOCHAVA INC. AND
                                             COLLECTIVE DATA
 COLLECTIVE DATA SOLUTIONS,                  SOLUTIONS, LLC TO RESPOND
 LLC, a limited liability company            TO SECOND AMENDED
                                             COMPLAINT
                           Defendants.


      THIS MATTER having come before the Court without oral argument and

pursuant to the Joint Stipulation for Extension of Time for Kochava Inc. to

Respond to Second Amended Complaint, entered into by the parties and filed on

September 13, 2024, Dkt. No. 92.

      WHEREFORE, good cause appearing, the Court orders that the deadline for

Kochava Inc. and Collective Data Solutions, LLC to respond to the Second

Amended Complaint is extended to October 7, 2024.

      SO ORDERED.




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                                        DATED: September 16, 2024


                                        _________________________
                                        B. Lynn Winmill
                                        U.S. District Court Judge




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